         Case 1:18-cv-01719-RBW Document 9 Filed 10/05/18 Page 1 of 6



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


NATIONAL BUSINESS AVIATION ASSOCIATION, INC.,
  1200 G Street N.W., Suite 1100
  Washington, DC 20005

SANTA MONICA AIRPORT ASSOCIATION, INC.,
  3021 Airport Avenue, Suite 210
  Santa Monica, California 90405

BILL’S AIR CENTER, INC.,
   3147 Donald Douglas Loop South
   Santa Monica, CA 90405

KIM DAVIDSON AVIATION, INC., AND
   2701 Airport Avenue
   Santa Monica, California 90405                              Case No. 18-1719-RBW

REDGATE PARTNERS, LLC,
  2429 S. Peck Road
  Whittier, CA 9060

              Plaintiffs,

v.

DANIEL K. ELWELL, ACTING ADMINISTRATOR, AND
FEDERAL AVIATION ADMINISTRATION
  800 Independence Ave., S.W.
  Washington, DC 20591

              Defendants.

              MOTION FOR ADMISSION OF ATTORNEY PRO HAC VICE

       Pursuant to Civil Local Rule 83.2(d), Plaintiffs move for the admission and appearance of

attorney Richard K. Simon pro hac vice in the above-entitled action. This motion is supported by

the Declaration of Richard K. Simon, filed herewith. As set forth in Mr. Simon’s declaration, he

is admitted to and an active member in good standing the following courts and bars: California,

the United States Supreme Court, the United States Court of Appeals for the Ninth Circuit, the
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United States Court of Appeals for the District of Columbia Circuit, and the U.S. District Court

for the Central District of California. This motion is supported and signed by Jolyon (“Jol”) A.

Silversmith, an active and sponsoring member of the Bar of this Court.

                                     Respectfully submitted,

                                     /s/ Jolyon A. Silversmith



Dated: October 5, 2018               JOLYON (“JOL”) A. SILVERSMITH, Esq.
                                     D.C. Bar no. 463897
                                     888 17th Street, N.W., Suite 700
                                     Washington, D.C. 20006
                                     (202) 298-8660
                                     jasilversmith@zsrlaw.com
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                       IN THE UNITED STATES DISTRICT COURT
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FEDERAL AVIATION ADMINISTRATION
  800 Independence Ave., S.W.
  Washington, DC 20591

               Defendants.


                      DECLARATION OF RICHARD K. SIMON
              IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

I, Richard K. Simon, hereby declare:

     1. My full name, office address, and telephone number are as follows:

        Richard Karl Simon
        1700 Decker School Lane
        Malibu, CA 90265
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       (310) 503-7286

   2. I have been admitted to the following courts and bars:

       Supreme Court of California (Bar No. 45957, January 15, 1970)
       Supreme Court of the United States (February 23, 1981)
       Ninth Circuit Court of Appeals (March 3, 1970)
       District of Columbia Circuit Court of Appeals (February 28, 2002)
       United States District Court for the Central District of California (January 15, 1970)

   3. I am a member in good standing in the above-referenced bars. I have not been
      disciplined by any bar.

   4. I have not been admitted pro hac vice in this Court in the previous two years.

   5. I do not have an office in the District of Columbia nor am I a member of the Bar of the
      District of Columbia.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Executed at Los Angeles, California on October 3, 2018.

                                                     /s/ Richard K. Simon

                                                     _______________________________

                                                     Richard K. Simon, Esq.
                                                     1700 Decker School Lane
                                                     Malibu, CA 90265
                                                     (310) 503-7286
                                                     rsimon3@verizon.net
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                          FOR THE DISTRICT OF COLUMBIA


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  800 Independence Ave., S.W.
  Washington, DC 20591

              Defendants.


            [PROPOSED] ORDER GRANTING MOTION FOR ADMISSION
                    OF RICHARD K. SIMON PRO HAC VICE

       The Court has reviewed the Plaintiffs’ motion for admission of attorney Richard K.

Simon pro hac vice. Upon consideration of that motion, the Court grants attorney Richard K.

Simon pro hac vice admission to this Court.
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IT IS SO ORDERED.

DATE: ___________                            ______________________________
                                             Reggie B. Walton
                                             United States District Judge
